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               IN THE UNITED STATES BANKRUPTCY COURT FOR
                   THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                             CHAPTER 13 CASE NO.:

DEWAYNE JONES                                                 21-12407-JDW

     RESPONSE TO MOTION TO SUSPEND CHAPTER 13 PLAN PAYMENTS

      COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,
and files this response to the Debtor’s Motion to Suspend Chapter 13 Plan Payments
(Dkt. #34) (the “Motion”) and in support states as follows:

      1.      The Debtor initiated this proceeding with the filing of his bankruptcy
petition on December 17, 2021. On January 27, 2022, this Court entered the Agreed
Order Granting Motion to Impose Stay (Dkt. #17) which, among other things, imposed
a 60-day “drop dead” provision regarding future plan payments due from and after
January 1, 2022, and a 180-day prohibition to re-filing should this case be dismissed for
any reason.

      2.      The Debtor’s monthly payment history is as follows:




      3.      The Motion was filed on June 7, 2022, and is set for hearing on July 19,
2022 (See Dkt. #35). The Motion requests a retroactive three-month suspension of
payments for April, May, and June.

      4.      Through May the month prior to the filing of the Motion, the Debtor had
become 60 days delinquent in plan payments.



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       5.     The Trustee alleges that the Motion was not filed in good faith, rather the
purpose of the Motion was to circumvent the agreement of the Debtor with the Trustee
that should plan payments become 60 days or more delinquent that the case would be
subject to dismissal.

       6.     The Trustee alleges that the Motion seeks nunc pro tunc relief to suspend
past payments in order to cure the already existing delinquency in plan payments. The
use and appropriateness of nunc pro tunc orders has been limited by the United States
Supreme Court as set forth in its opinion in Roman Catholic Archdiocese of San Juan,
Puerto Rico v. Acevedo Feliciano, et al., 140 S.Ct. 696 (2020) . The Trustee urges that this
instance is one in which nunc pro tunc relief is not proper.

       7.     The Trustee requests that the Motion be denied.

       WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,
prays that upon notice and hearing that this Court enter its order denying the Motion
and for such other relief to which the Trustee and this bankruptcy estate may be
entitled.

       Dated: June 16, 2022

                                            Respectfully submitted,
                                            LOCKE D. BARKLEY, TRUSTEE

                                            BY: /s/ W. Jeffrey Collier
                                            W. JEFFREY COLLIER, ESQ.
                                            Attorney for Trustee
                                            6360 I-55 North, Suite 140
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                              CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: June 16, 2022

                                          /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER




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